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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION


UNITED STATES OF AMERICA,          :
                                   :
                    Plaintiff,     :
                                   :
     -vs-                          : CASE NUMBER 2:18-CR-204(2)
                                   :
CHARLES L. CARSON,                 : JUDGE MICHAEL H. WATSON
                                   :
                    Defendant.     :
                                   :
________________________________________________________________

            NOTICE OF POTENTIAL CONFLICT IN INTEREST
________________________________________________________________


      The undersigned counsel hereby gives notice of a potential conflict in
interest regarding the Defendant Charles Carson. Counsel previously
represented Erick Fambro in the matter of State of Ohio v. Erick Fambro,
Franklin County Case Number 15CR-619 in which Mr. Carson was a named co-
defendant in a related case (State of Ohio v. Charles Carson, 15CR-616). The
robbery in that case is charged as Overt Act 35 in the present Indictment.
Although Mr. Fambro’s case has been concluded, and he is not a named
defendant in this case, there may be a conflict if he is called as a witness should
Mr. Carson’s case proceed to trial.
      Counsel has notified Mr. Carson of the potential conflict and offered him
the option of waiving the same or to seek the appointment of new counsel. The
Court and Government will be notified as soon as he has made his decision.
      The potential for a conflict does not equate with an actual conflict. Counsel
asserts his continued representation will not interfere in his zealous advocacy on
behalf of Mr. Carson. Neither has counsel’s representation been tempered or
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compromise. This potential conflict was discovered as counsel was preparing
the post hearing memorandum which is due on May 10, 2021. 1
                                Respectfully submitted,

                                FREDERICK D. BENTON, JR.
                                A Legal Professional Association

                                /s/Frederick D. Benton, Jr.
                                Frederick D. Benton, Jr.
                                Trial Counsel for Defendant
                                Ohio Supreme Court #0022800
                                98 Hamilton Park
                                Columbus, Ohio 43203
                                (614) 732-4693
                                fred@fdbentonlaw.com




1       The post hearing brief has been prepared and forwarded to Mr. Carson for his reviewl.

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                          CERTIFICATE OF SERVICE

      This is to certify that a true copy of the foregoing pleading was delivered by
Electronic Filing and/or Electronic Mail on this the 3rd day of May, 2021 to the
following:

                         Charles Carson
                         Butler County Jail
                         705 Hanover Street
                         Hamilton, Oh 45011

                         Kevin Kelly
                         UNITED STATES ATTORNEY’S OFFICE
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                         Columbus, Ohio 43215
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                         Noah Litton
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                         Respectfully submitted,

                         FREDERICK D. BENTON, JR.
                         A Legal Professional Association

                         /s/Frederick D. Benton, Jr.
                         Frederick D. Benton, Jr.
                         Trial Counsel for Defendant
                         Ohio Supreme Court #0022800
                         98 Hamilton Park
                         Columbus, Ohio 43203
                         (614) 732-4693
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